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   8                       UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
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  11   ROGER M. KELLER,                        Case No. SACV 21-0976 CJC (RAO)
  12                       Petitioner,
  13          v.                               JUDGMENT
  14   CRAIG KOENIG,
  15                       Respondent.
  16

  17         Pursuant to the Court’s Order Accepting Findings, Conclusions, and
  18   Recommendations of United States Magistrate Judge,
  19         IT IS ORDERED AND ADJUDGED that the Petition is denied, and this action
  20   is dismissed without prejudice.
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  23   DATED: October 18, 2021
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                                          CORMAC J. CARNEY
  25                                      UNITED STATES DISTRICT JUDGE
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